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                                                 U NI T E D S T A T E S DI S T RI C T C O U R T
                                                    DI S T RI C T O F S O U T H D A K O T A
                                                             W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                          5: 2 0 - C R-5 0 1 2 2
                 Pl ai ntiff                                                        S U P P L E M E N T A L M O TI O N T O DI S MI S S
                        v.                                                          A N D F O R A L T E R N A TI V E R E LI E F


KI M B E R L E E PI T A W A N A K W A T
                D ef e n d a nt




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e L a wr e n c e L. Pi ers ol
U nit e d St at es Distri ct J u d g e
R m 2 0 2 U nit e d St at es C o urt h o us e
4 0 0 S. P hilli ps A v e n u e
Si o u x F alls, S D 5 7 1 0 4


R e: S u p pl e m e nt al M oti o n T o Dis miss A n d F or Alt er n at e R eli ef f or t h e f oll o wi n g r e as o ns:



I, Ki m b erl e e Pit a w a n a k w at , t h e D ef e n d a nt i n t h e a b o v e c a pti o n e d c as e, r es p e ctf ull y m o v es t his H o n or a bl e

C o urt f or Dis miss al of t h e P e n di n g I n di ct m e nt a n d F or Alt er n ati v e R eli e f. T his M oti o n S u p pl e m e nts

D ef e n d a nt’s First M oti o n t o Dis miss, D o c k et N o. 2 3 8 wit h a d diti o n al F a cts, E vi d e n c e a n d L e g al

Ar g u m e nt a n d s h o ul d b e gr a nt e d f or t h e f oll o wi n g r e as o ns:



T H E U NI T E D S T A T E S L A C K S J U RI S DI C TI O N I N T HI S C A S E A N D T H E E N TI R E R E C O R D

O F T H I S M A T T E R I S R E P L E T E WI T H F A L S E G O V E R N M E N T S T A T E M E N T S, F A L S E


                                                                     P a g e 1 of 1 1
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D O C U M E N T S, K N O W N F A L S E T E S TI M O N Y A N D O T H E R MI S C O N D U C T B Y

P R O S E C U T O R S A N D O T H E R O F FI CI A L S A C TI N G U N D E R C O L O R O F L A W A S D E T AI L E D

I N T HI S S U P P L E M E N T A L M O TI O N T O DI S MI S S

    1.   C o u nt I V all e g es t h at D ef e n d a nt m a d e a f als e st at e m e nt t o c orr u pt f or m er tri b al i n v esti g at or

         P u c k ett i n all e g e d vi ol ati o n of 1 8 U S C § 1 0 0 1.

    2.   T h e G o v er n m e nt n o w c o n c e d es t h at t his all e g e d f als e st at e m e nt d o es n ot r el at e i n a n y w a y

         w h ats o e v er t o t h e s h o oti n g of all e g e d vi cti m C ar m e n B ur g e e. T h e G o v er n m e nt , i n its R es p o ns e t o

         D ef e n d a nt’s M oti o n t o C o m p el , D o c k et N o. 2 4 8, at p a g e 5 st at es: “ T h e d ef e n d a nt is n ot all e g e d t o

         h a v e b e e n i n v ol v e d i n a n y w a y i n G e or g e D ull K nif e’s s h o oti n g of C ar m e n B ur g e e a n d h er

         v e hi cl e o n A u g ust 5, 2 0 2 0. ”

    3.   T his a d missi o n b y t h e G o v er n m e nt of D ef e n d a nt’s c o m pl et e l a c k of i n v ol v e m e nt i n a n y cri m e

         r el ati n g t o C ar m e n B ur g e e als o est a blis h es t h at Ms. B ur g e e is n ot a n all e g e d “ vi cti m ” i n r el ati o n

         t o D ef e n d a nt’s c as e. At m ost, Ms. B ur g e e is a wit n ess i n t h e c as e. Ms. B u r g e e s h o ul d n ot b e gi v e n

         a d diti o n al l e g al st at us t h at is c o m pl et el y irr el e v a nt t o t h e D ef e n d a nt’s c as e. T h e D ef e n d a nt m o v es

         t his H o n or a bl e C o urt or d er t h e G o v er n m e nt t o c e as e r ef erri n g t o Ms. B ur g e e as a vi cti m of t his

         D ef e n d a nt si n c e t h e G o v er n m e nt cl e arl y c o n c e d es t h at s h e is n ot.

    4.   T h e G o v er n m e nt cl e arl y k n e w t h at t his s h o oti n g di d n ot o c c ur at t h e D ull K nif e Pr o p ert y. O n

         We d n es d a y, S e pt e m b er 3 0, 2 0 2 0, t h e G o v er n m e nt a p p e ar e d at a pr etri al h e ari n g i n 6: 2 0 -mj -

         0 0 2 4 3 -M K. D o c u m e nt 1 4 of t h at r e c or d is a r e p ort er’s tr a ns cri pt of a h e ari n g b ef or e M a gistr at e

         J u d g e M ust af a K as u b h ai ( S e e D o c k et N o. 2 5 2 -1, D ef e n d a nts E x hi bit A at p a g e 9 a n d 1 0 ). Th e

         f oll o wi n g e x c h a n g e t a k es pl a c e wit h t h e C o urt : A U S A H u y n h: “ M y u n d erst a n di n g is t h e vi cti m s

         w e nt t o Mr. D ull K nif e’s h o us e t o pi c k u p a c hil d, a n d t h e m ot h er of t h at c hil d, t h e vi cti m w as

         wit h his m ot h er i n t h e v e hi cl e. T h e y l eft b e c a us e t h e y w er e t ol d t h at t h e p ers o n, t h e m ot h er of t h e

         c hil d, w as n ot r e a d y t o l e a v e a n d t o c o m e b a c k i n a n h o ur, w hi c h t h e y w er e d oi n g. T h e n t h e

         d ef e n d a nt, i n a n ot h er v e hi cl e, h e w as n ot i n t h e h o us e at t h e ti m e, c h as e d t h e m i n his v e hi cl e a n d



                                                                  P a g e 2 of 1 1
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        fir e d m a n y r o u n ds. As t h e y g ot cl os e t o t h e hi g h w a y, h e p us h e d t h e m u p i nt o a n ot h er l o c ati o n t o

        fir e e v e n m or e r o u n ds. ”

   5.   It is q uit e a p p ar e nt fr o m t his st at e m e nt b y t h e G o v er n m e nt t h at t h e y w er e w ell a w ar e b y

        S e pt e m b er 3 0, 2 0 2 0 , t h at t h e s h o oti n g di d n ot o c c ur at t h e D ull K nif e r esi d e n c e, w hi c h e x pl ai ns

        e x a ctl y w h y t h e D ef e n d a nt k n e w n ot hi n g a b o ut it a n d is u n mist a k a bl e e vi d e n c e of D ef e n d a nt’s

        i n n o c e n c e. T h at t h e G o v er n m e nt pr o c e e d e d wit h t his c as e k n o wi n g t h at t h e D ef e n d a nt w as

        c o m pl et el y u ni n v ol v e d is t h e w orst ki n d of o utr a g e o us G o v er n m e nt mis c o n d u ct a n d s h o ul d

        r e q uir e a n i m m e di at e i n v esti g ati o n of t h e G o v er n m e nt l a w y ers i n v ol v e d.

   6.   S u c h a n i n v esti g ati o n is g o v er n e d b y S o ut h D a k ot a L o c al R ul e 4 4. 1, G. 2. c. a n d is r e q uir e d b y t h e

        u n a m bi g u o us e vi d e n c e of G o v er n m e nt mis c o n d u ct i n t his c as e. A U S A S a z a m a, A U S A P att ers o n

        a n d p ot e nti all y U S A O e m pl o y e e S a n d y K o e d a m (s e e b el o w) h a v e d eli b er at el y li e d t o t his C o urt

        a n d t h e Ei g ht h Cir c uit C o urt of A p p e als . T h es e li es i n cl u d e t h e f oll o wi n g f als e st at e m e nts:

              a.    T h at t h e s h ots w er e fir e d b y a n A R 1 5 rifl e w h e n t h e G o v er n m e nt k n e w t h at w as n ot tr u e.

              b.    T h at t h e s h ots w er e fir e d b y a n A R 1 5 rifl e a n d t h at j ustifi e d a s e ar c h of t h e D ull K nif e

                    r esi d e n c e w h e n t h e y k n e w, or s h o ul d h a v e k n o w n, fr o m a c urs or y r e vi e w of t h e s p e nt

                    b ull et t h at it c a m e fr o m a pist ol. I nst e a d of a cti n g i n g o o d f ait h a b o ut t his pr o bl e m t h e

                    G o v er n m e nt a n d D ef e n d a nts pri or C o urt a p p oi nt e d c o u ns el c o ns pir e d t o k e e p t his s e cr et.

              c.    A U S A S a z a m a t ol d t h e C o urt t h at t h er e is n o e vi d e n c e i n t h e c as e b esi d es w h at h a d

                    alr e a d y b e e n pr o vi d e d, w h e n s h e k n e w t h at w as c o m pl et el y f als e. T h e D ef e n d a nt

                    pr o vi d e d cl e ar e vi d e n c e t h at t h er e is a s p e nt bl o o ds t ai n e d b ull et t h at w as l o c at e d o n t h e

                    p ass e n g er fl o or m at of t h e B ur g e e v e hi cl e, s e e D o c k et N o. 2 4 7 -3, D ef e n d a nts M oti o n T o

                    C o m p el, E x hi bit C, p a g e 5, cl e arl y s h o wi n g a s p e nt b ull et o n t h e fl o or m at of t h e B ur g e e

                    v e hi cl e, i m a g e D S C _ 0 1 4 9, Dis c o v er y p a g e n u m b e r D ull K nif e et al 0 2 8 2:




                                                                  P a g e 3 of 1 1
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         d.   T h e G o v er n m e nt t h e n c h a n g e d its p ositi o n c o m pl et el y, a d mitt e d t h at it h a d t h e s p e nt

              b ull et b ut t h e n pr et e n d e d t h at it w as a b ull et fr a g m e nt. T h at w as a n ot h er li e pr es e nt e d t o

              M a gistr at e D uff y, t h e bi as e d J u d g e w h o i m m e di at el y r u b b er st a m p e d t h e G o v er n m e nt’ s

              p ositi o n e v e n t h o u g h it is i n c o nsist e nt wit h t h e e vi d e n c e. As c a n b e cl e arl y s e e n, t h e

              i m a g e is of a c o m pl et e s p e nt b ull et.

         e.   I n a d diti o n, t h e o nl y e x p ert k n o w n t o h a v e l o o k e d at t his i m a g e (si n c e t h e G o v er n m e nt

              h as d eli b er at el y f ail e d t o e x a mi n e it) pr o v i d e d t h e f oll o wi n g d e cl ar ati o n r e g ar di n g his

              o pi ni o n: “t h at t h e b ull et i n t h e p h ot o gr a p h a p p e ar e d t o b e a pist ol b ull et, n ot a rifl e b ull et.

              I i nf or m e d Mr. M c C o y t h at it w o ul d b e p ossi bl e t o disti n g uis h a pist ol b ull et fr o m a rifl e

              b ull et b y m e a ns of a p ers o n al p h ysi c al e x a mi n ati o n. ” T h e o nl y e x p ert t o h a v e l o o k e d at

              t h e p h ot o gr a p hi c e vi d e n c e t h us f ar i nf or ms t h e C o urt, u n d er o at h, t h at t h e s p e nt b ull et is

              n ot a b ull et fr a g m e nt a n d a p p e ars cl e arl y t o b e a pist ol b ull et a n d n ot fr o m a n A R 1 5.

              A U S A S a z a m a a n d M a gistr at e D uff y ar e n ot q u alifi e d as fir e ar m or b allisti cs e x p erts w h o

              c a n pr o vi d e a n y o pi ni o n a b o ut t h e n at ur e of t his e vi d e n c e.

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         f.   T his e vi d e n c e w as pr o vi d e d t o t his D ef e n d a nt i n dis c o v er y a n d is cl e arl y r el e v a nt t o t h e

              c as e. It is r el e v a nt t o D ef e n d a nt’s M oti o ns t o Dis miss; it is r el e v a nt t o a d diti o n al M oti o ns

              r el ati n g t o Mis c o n d u ct a n d it is r el e v a nt t o D ef e n d a nt’s tri al. T h e G o v er n m e nt’s wit n ess,

              j ail h o us e i nf or m a nt I a n D ull K nif e pr o vi d e d a f als e t a p e-r e c or d e d st at e m e nt t o c orr u pt

              f or m er tri b al p oli c e offi c er P u c k ett t h at h e s a w G e or g e D ull K nif e s h o ot at t h e v e hi cl e

              a b o ut t w el v e ti m es a n d t h e n h a n d t h e rifl e t o D ef e n d a nt. T h e G o v er n m e nt is li k el y t o c all

              I a n D ull K nif e as a tri al wit n ess a n d t h e D ef e n d a nt n e e ds t o b e a bl e t o est a blis h at tri al

              t h at n ot o nl y is I a n D ull K nif e l yi n g b ut t h at t h e G o v er n m e nt k n e w h e w as l yi n g fr o m t h e

              b e gi n ni n g of t his c as e. T h e D ef e n d a nt n ot es t h at it is I a n D ull K nif e w h o s h o ul d h a v e

              b e e n c h ar g e d wit h m a ki n g f als e st at e m e nts.

         g.   A U S A S a z a m a disr es p e cts t his C o urt a n d t h e Ei g ht h Cir c uit C o urt of A p p e al b y i g n ori n g

              t h e e xist e n c e of a v ali d C o urt Or d er r e q uiri n g t h e t esti n g of s ai d b ull et. D ef e n d a nts

              N oti c e of A p p e al R e M a gistr at e D uff y’s D e ni al of D ef e n d a nt’s M oti o n T o C o m p el

              D o c k et N o.’s 2 5 1 a n d 2 4 7 t o Distri ct C o urt J u d g e Pi e rs ol, E x hi bit B, D o c k et N o. 2 5 2-2

              pr es e nts t h e e vi d e n c e d e m o nstr ati n g t h at D ef e n d a nt fil e d a CJ A M oti o n f or Testi n g, t h at

              it w as gr a nt e d b y t h e Distri ct C o urt J u d g e, J u d g e S c hr ei er a n d t h at a d diti o n al i nf or m ati o n

              w as pr o vi d e d t o C hi ef J u d g e L a v e ns ki R. S mit h a n d t h at J u d g e S mit h si g n e d t h e C o urt

              Or d er f or s ai d t esti n g o n J u n e 2 3, 2 0 2 3. As t his C o urt c a n cl e arl y s e e, D ef e n d a nt’s

              M oti o n i n c or p or at e d a pr a y er f or a n Or d er r e q uiri n g t h e G o v er n m e nt t o c o o p er at e wit h

              t his t esti n g, w hi c h w as gr a nt e d. T his C o urt is r e q uir e d t o a bi d e b y J u d g e L a v e ns ki R.

              S mit h’s Or d er f or Testi n g, CJ A Vo u c h er N u m b er 0 8 6 9. 1 5 7 0 9 8 5.

         h.   T h e G o v er n m e nt’s c o nti n ui n g t o i g n or e t his v ali d or d er d a m a g es t h e D ef e n d a nt’s ri g ht t o

              pr e p ar e f or tri al a n d t h er ef or e vi ol at es t h e U nit e d St at es C o nstit ut i o n.

         i.   T h e G o v er n m e nt k n o ws t h at c orr u pt f or m er tri b al p oli c e offi c er P u c k ett is a li ar a n d h e

              c a us e d or c o ns pir e d wit h I a n D ull K nif e, a j ail h o us e i nf or m a nt, t o pr o vi d e a st at e m e nt

              t h at w as f a bri c at e d. T his f a bri c at e d st at e m e nt r e p e at e d t h e li e a b o ut t h e A R 1 5 rifl e b ut

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                    als o t h at t h e s h o oti n g t o o k pl a c e at t h e D ull K nif e r esi d e n c e w h e n t h e G o v er n m e nt k n e w

                    t h at w as n ot tr u e, as it n o w a d mits.

              j.    It a p p e ars t h at t h e G o v er n m e nt a n d t his C o urt ar e willi n g t o o verl o o k P u c k ett’s

                    mis c o n d u ct i n t his c as e, p ossi bl y b e c a us e t his will r ais e q u esti o ns a b o ut ot h er c as es t h at

                    t his c orr u pt f or m er p oli c e m a n h as b e e n i n v ol v e d wit h. W h at e v er t h es e r e as o ns ar e, t h e y

                    ar e n ot a g o o d b asis t o vi ol at e t his D ef e n d a nt’s ri g hts t o a f air tri al, d u e pr o c ess a n d e q u al

                    pr ot e cti o n of t h e l a ws.

              k.    A U S A S a z a m a r e p e at e dl y c h a n g es h er p ositi o n i n r el ati o n t o t his c as e . A U S A S a z a m a is

                    f ull y a w ar e t h at s h e br o u g ht f als e c h ar g es a g ai nst t his D ef e n d a nt a n d n o w n e e ds t o tr y

                    a n d j ustif y t h at i n or d er t o pr ot e ct h ers elf fr o m p ot e nti al r e p er c ussi o ns. T his cr e at es a

                    c o nfli ct of i nt er est a n d i n a n y n or m al sit u ati o n A U S A S a z a m a s h o ul d h a v e r e m o v e d

                    h ers elf a n d r e q u est e d assi g n m e nt of a n e w A U S A.

   7.   T h e f als e cl ai m t h at D ef e n d a nt li e d t o c orr u pt f or m er tri b al i n v esti g at or P u c k ett c a n n ot a n d d o es

        n ot r el at e i n a n y m a n n er t o t h e off e ns e t h at c o ul d h a v e pr o vi d e d t h e U nit e d St at es wit h

        j uris di cti o n b e c a us e w h at e v er t his s u p p os e d li e w as it c o ul d n e v er b e m at eri al t o t h e off e ns e

        u n d er i n v esti g ati o n. C orr u pt f or m er tr i b al p oli c e offi c er P u c k ett w as i n v esti g ati n g a n all e g e d

        s h o oti n g at t h e B ur g e e v e hi cl e. T h e G o v er n m e nt a d mits t h e D ef e n d a nt h a d a bs ol ut el y n ot hi n g t o

        d o wit h t h at s h o oti n g ( S e e p ar a gr a p h 2 a b o v e). T h e G o v er n m e nt als o a d mits t h at t h e s h o oti n g di d

        n ot t a k e pl a c e at t h e D ull K nif e r esi d e n c e ( S e e p ar a gr a p h 4 a b o v e). 1 8 U. S. C. § 1 0 0 1 w as

        e x pr essl y a m e n d e d i n 1 9 9 6 t o a d d m at eri alit y as a n el e m e nt u n d er e a c h of t h e t hr e e cl a us es i n

        s u bs e cti o n ( a). T his r es ol v e d a c o nfli ct a m o n g t h e c o urts o n t h at iss u e. S e e, e. g., U nit e d St at es v.

        C orsi n o , 8 1 2 F. 2 d 2 6 ( 1st Cir. 1 9 8 7); U nit e d St at es v. El ki n , 7 3 1 F. 2 d 1 0 0 5 ( 2 d Cir. 1 9 8 4).

        B e c a us e a n y all e g e d f als e st at e m e nt, w hi c h D ef e n d a nt d e ni es, m ust b e u nr el at e d t o t h e s h o oti n g

        of t h e B ur g e e v e hi cl e s u c h st at e m e nt c a n n ot t h er ef or e b e m at eri al t o t h e off e ns e u n d er

        i n v esti g ati o n. T his est a blis h es t h at t h er e is n o f als e st at e m e nt t h at t h e G o v er n m e nt c a n pr es e nt

        t h at m e ets t his m at eri alit y t est a n d t h er ef or e t h e C o urt is r e q uir e d b y l a w t o dis miss C o u nt I V.

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   8.   T h e U nit e d St at es G o v er n m e nt o nl y e x erts j uris di cti o n o v er I n di a n C o u ntr y p urs u a nt t o t h e M aj or

        Cri m es A ct. T h e G o v er n m e nt ass erts i n i ts I n di ct m e nt, C o u nt I V, D o c k et N o. 1, t h at D ef e n d a nt

        m a d e t w o f als e st at e m e nts t o c orr u pt f or m er tri b al p oli c e offi c er P u c k ett. T h e G o v er n m e nt k n e w

        at t h e ti m e of t h e I n di ct m e nt t h at b ot h of t h os e cl ai ms w er e f als e, b ut i n a d diti o n it als o f ail e d t o

        cl ai m a n y j uris di cti o n f or t his off e ns e p urs u a nt t o 1 8 U. S. C o d e § 1 1 5 3 - Off e ns es c o m mitt e d

        wit hi n I n di a n c o u ntr y, pr es u m a bl y b e c a us e t h e G o v er n m e nt k n e w f ull w ell it h a d n o j uris di cti o n

        o v er t his off e ns e si n c e it is n ot a n e n u m er at e d cri m e t h at pr o vi d es j uris di cti o n t o t h e f e d er al

        g o v er n m e nt.

   9.   1 8 U. S. C o d e § 1 1 5 3 - Off e ns es c o m mitt e d wit hi n I n di a n c o u ntr y e n u m er at es t h e f oll o wi n g

        s p e cifi c cri m es: “ ( a) A n y I n di a n w h o c o m mits a g ai nst t h e p ers o n or pr o p ert y of a n ot h er I n di a n or

        ot h er p ers o n a n y of t h e f oll o wi n g off e ns es, n a m el y, m ur d er, m a nsl a u g ht er, ki d n a p pi n g, m ai mi n g,

        a f el o n y u n d er c h a pt er 1 0 9 A, i n c est, a f el o n y ass a ult u n d er s e cti o n 1 1 3, a n ass a ult a g ai nst a n

        i n di vi d u al w h o h as n ot att ai n e d t h e a g e of 1 6 y e ars, f el o n y c hil d a b us e or n e gl e ct, ars o n, b ur gl ar y,

        ro b b er y, a n d a f el o n y u n d er s e cti o n 6 6 1 of t his titl e wit hi n t h e I n di a n c o u ntr y, s h all b e s u bj e ct t o

        t h e s a m e l a w a n d p e n alti es as all ot h er p ers o ns c o m mitti n g a n y of t h e a b o v e off e ns es, wit hi n t h e

        e x cl usi v e j uris di cti o n of t h e U nit e d St at es.

   1 0. T his f ail ur e t o est a blis h j uris di cti o n r e q uir es i m m e di at e dis miss al of C o u nt I V. T h e D ef e n d a nt

        n ot es t h at t h e G o v er n m e nt h as als o f ail e d t o est a blis h c orr u pt f or m er tri b al p oli c e offi c er is a

        f e d er al a g e nt, si n c e his f or m er e m pl o y m e nt w as wit h t h e O gl al a Si o u x tri b e, n ot t h e B ur e a u of

        I n di a n Aff airs or t h e f e d er al g o v er n m e nt.

   1 1. A c urs or y r e vi e w of t h e G o v er n m e nt’s i n di ct m e nt r e v e als t h at t h e G o v er n m e nt is f ull y a w ar e of

        t his l a c k of j uris di cti o n o v er t h e D ef e n d a nt, i n c o ntr ast t o h er f or m er c o-d ef e n d a nt. E a c h C o u nt

        n a mi n g G e or g e D ull K nif e i n cl u d es a n ass erti o n of j uris di cti o n p urs u a nt t o 1 8 U. S. C o d e § 1 1 5 3 ,

        w h er e as e a c h of t h e t w o C o u nts n a mi n g t his D ef e n d a nt f ail t o ass ert j uris di cti o n p urs u a nt t o 1 8

        U. S. C o d e § 1 1 5 3 . T his l a c k of j uris di cti o n p urs u a nt t o § 1 1 5 3 is a n i n d e p e n d e nt Gr o u n d f or

        Dis miss al of t his I n di ct m e nt, wit h Pr ej u di c e.

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   1 2. T h e f oll o wi n g ar e t h e e n u m er at e d i n di ct m e nt off e ns es r el ati n g t o G e or g e D ull K nif e:




   1 3. I n c o ntr ast, t h e f oll o wi n g ar e t h e e n u m er at e d i n di ct m e nt off e ns es r elati n g t o t h e D ef e n d a nt:




   1 4. I n all C o u nts a g ai nst G e or g e D ull K nif e t h e G o v er n m e nt m a k es a cl e ar ass erti o n of j uris di cti o n,

        p urs u a nt t o 1 8 U. S. C o d e § 1 1 5 3 ( hi g hli g ht er a d d e d), y et i n b ot h D ef e n d a nt’s C o u nts t h e

        G o v er n m e nt d o es n ot e v e n all e g e it h as j uris di cti o n p urs u a nt t o § 1 1 5 3 . T his a d missi o n b y t h e

        G o v er n m e nt t h at it l a c ks j uris di cti o n o v er D ef e n d a nt r e q uir es Dis miss al a n d is y et m or e e vi d e n c e

        t h at t h e G o v er n m e nt f als el y br o u g ht a c as e a g ai nst D ef e n d a nt k n o wi n g it h a d n o j uris di cti o n a n d

        r ais es f urt h er tr o u bli n g q u esti o ns a b o ut w h at t h e G o v er n m e nt ass ert e d b ef or e t h e Gr a n d J ur y of

        t his c as e i n or d er t o o bt ai n its c h ar gi n g i nstr u m e nt.

   1 5. C o u nt V r e q uir es dis miss al o n a n e ntir el y s e p ar at e a n d l e g all y i n d e p e n d e nt b asis. T h e

        G o v er n m e nt f als el y cl ai ms t h at D ef e n d a nt w as a n A c c ess or y aft er t h e F a ct i n vi ol ati o n of 1 8

        U. S. C. § 3. T his a p p e ars t o b e a f als e cl ai m t h at t h e D ef e n d a nt fl e d t h e j uris di cti o n. F a ct u all y t his

        is c o m pl et el y u ntr u e, as t h e G o v er n m e nt is alr e a d y a w ar e, b ut it als o c a n n ot f or m t h e l e g al b asis

        f or s u c h a c h ar g e.

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   1 6. T h e G o v er n m e nt’s ill e g al eff orts t o cl ai m j uris di cti o n a p p e ar r el at e d t o a f als e d o c u m e nt

        pr es e nt e d t o t his H o n or a bl e C o urt. D o c u m e nt N o. 2 0 2, fil e d i n t h e r e c or d of t his c as e is an Arr est

        Warr a nt t h at is a fr a u d ul e nt d o c u m e nt. T h e E C F e ntr y f or t his f als e d o c u m e nt s a ys: “ Warr a nt

        R et ur n e d E x e c ut e d o n 9/ 2 8/ 2 0 i n c as e as t o Ki m b erl e e Pit a w a n a k w at.

        ( S K K)( E nt er e d: 1/ 2 4/ 2 0 2 3). ” S K K is b eli e v e d t o b e S a n d y K o e d a m, a n assist a nt t o A U S A

        S a z a m a. It p ur p orts t o s h o w t h at D ef e n d a nt w as arr est e d i n R a pi d Cit y, S D o n S e pt e m b er 2 8,

        2 0 2 0. T h e d o c u m e nt a p p e ars t o b e writt e n i n t w o dif f er e nt h a n ds, wit h t h e si g n at ur e of D U S M

        J os h u a P et ers o n a p p e ari n g diff er e nt fr o m t h e writi n g at t h e t o p, f als el y i n di c ati n g t h e d at e a n d

        pl a c e of arr est. T h e writi n g at t h e t o p of t h e f als e d e cl ar ati o n a p p e ars t o m at c h t h e h a n d writi n g of

        A U S A S a z a m a, s e e f or e x a m pl e 5: 2 0- C R-5 0 1 2 2 -J L V-0 1 D o c k et N o. 1 5 9, as c o m p ar e d t o t h e

        f als e d o c u m e nt i n t his c as e s h o w n b el o w:




   1 7. O n S e pt e m b er 2 8, 2 0 2 0, t h e D ef e n d a nt w as i n c ust o d y i n S pri n gfi el d, Or e g o n a n d w as c ert ai nl y

        n ot i n R a pi d Cit y, S o ut h D a k ot a. T his is y et a n ot h er f als e st at e m e nt m a d e t o t his H o n or a bl e C o urt

        b y t h e G o v er n m e nt i n a n a p p ar e nt att e m pt t o f als el y cl ai m j uris di cti o n. T h e C o urt m ust c o n d u ct

        a n a p pr o pri at e i n q uir y r e g ar di n g t h e ori gi n of t his f als e d o c u m e nt, w h o cr e at e d it a n d f or w h at

        p ur p os e. R e m ar k a bl y t h e A U S A assi g n e d t o t his pr os e c uti o n a n d h er assist a nt c a n m a k e u p f als e

        d o c u m e nts a n d t h e n fil e t h e m wit h t h e C o urt. B ot h t h e f a k e arr est w arr a nt a n d t h e r e al arr est

        d o c u m e nt e ntitl e d “ Pr o b a bl e C a us e Affi d a vit ” ar e att a c h e d t o t his M oti o n as D ef e n d a nt’s E x hi bit

        A.


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   1 8. As c a n v er y cl e arl y b e s e e n, t h e D ef e n d a nt w as arr est e d o n S e pt e m b er 2 4, 2 0 2 0, at 1 7 0 2 h o urs b y

        D e p ut y A ki n wit h t h e Li n c ol n C o u nt y S h eriff's Offi c e, i n Or e g o n . A n e xtr a ct fr o m D ef e n d a nts

        E x hi bit A t o t his M oti o n is s h o w n b el o w a n d t h e f ull d o c u m e nt i n cl u d es t h e C o urt s e al a n d a

        n ot ari al c ertifi c ati o n fr o m t h e C o urt Cl er k :




   1 9. D ef e n d a nt w as r el e as e d o n S e pt e m b er 3 0, 2 0 2 0, b y or d er of M a gistr at e J u d g e K as u b h ai, sitti n g i n

        E u g e n e F e d er al C o urt i n Or e g o n, s u bj e ct t o c o n diti o ns . S e e 6: 2 0 -mj -0 0 2 4 3, D o c k et N o. 1 0, d at e d

        S e pt e m b er 3 0, 2 0 2 0. T his d o c k et cl e arl y d e m o nstr at es t h at o n t h e s a m e d a y t h at t h e U nit e d St at es

        G o v er n m e nt cl ai ms vi a its f or g e d d o c u m e nt t h at D ef e n d a nt w as arr est e d i n R a pi d Cit y, S D, s h e

        w as i n f a ct m a ki n g h er i niti al a p p e ar a n c e : “S e p 2 8, 2 0 2 0, I niti al A p p e ar a n c e – O ut of Distri ct

        Warr a nt, ” a c c or di n g t o t h e d o c k et i n t h e Or e g o n c a s e. D o c k et N o. 5 of t h at c as e, e ntitl e d

        “ O R D E R O F D E T E N TI O N A F T E R H E A RI N G ( 1 8 U S C § 3 1 4 2(i)) w as t h e i niti al or d er of

        d et e nti o n, cl e arl y s h o wi n g t h at D ef e n d a nt c o ul d n ot h a v e b e e n arr est e d i n R a pi d Cit y, w h e n i n

        f a ct D ef e n d a nt w as alr e a d y i n c ust o d y i n Or eg o n a n d a b o ut t o b e r el e as e d b y t h e Or e g o n F e d er al

        C o urt.

   2 0. T h e cl e ar r e c or d of t his c as e d e m o nstr at es r e p e at e d mis c o n d u ct a n d f als e st at e m e nts b y t h e

        assi g n e d Pr os e c ut or s, A U S A S a z a m a, l a w e nf or c e m e nt, t h e J u d g es assi g n e d t o t his c as e a n d t h e

        C o urt a p p oi nt e d c o u ns el a p p oi nt e d t o r e pr es e nt t h e D ef e n d a nt. T his cl e ar r e c or d of mis c o n d u ct




                                                                P a g e 1 0 of 1 1
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            r e q uir es t h at t h e c as e b e dis miss e d wit h Pr ej u di c e a n d a n a p pr o pri at e i n v esti g ati o n b e c o n d u ct e d

            b y t his C o urt of t h e f ail ur es r e v e al e d b y t h e r e c or d of t his c as e .

W H E R E F O R E D ef e n d a nt P r a ys t his C o urt f or its Or d er Dis missi n g t his I n di ct m e nt A n d F or Alt er n at e

R eli ef C o nsist e nt wit h t his M oti o n .



D at e d t his 3r d d a y of A u g ust 2 0 2 3


R es p e ctf ull y ,

/ s / Ki m berlee Pit a w a n a k w at

Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m




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